
PER CURIAM.
We review the decision in State v. Johnson, 629 So.2d 860 (Fla. 4th DCA 1993), in which the district court of appeal certified a question of great public importance. Art. V, § 3(b)(4), Fla. Const.
The district court certified the question of whether its decision in Metcalf v. State, 614 So.2d 548 (Fla. 4th DCA 1993), was correct. Based on our recent ruling quashing the cited decision, Metcalf v. State, 635 So.2d 11 (Fla.1994), we answer in the negative and quash the decision under review.
It is so ordered.
GRIMES, C.J., and OVERTON, McDonald, SHAW, KOGAN and HARDING, JJ., concur.
